     Case 19-50848                Doc 29      Filed 09/03/20 Entered 09/03/20 10:23:27   Desc Main
                                                Document     Page 1 of 3



                                            UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF MINNESOTA


  In Re: Anthony J. Lastovich,                                               BKY 19-50848 Chapter 13

                                   Debtor.

                              ORDER AVOIDING LIENS
  _____________________________________________________________________________

          This case is before the court on the debtor’s expedited motion to avoid the fixing of
  judicial liens. Based on the motion and the file,

             IT IS ORDERED:

             1. The request for expedited relief is granted.

             2. The judicial liens described below are avoided as to the following real estate and
                any proceeds thereof:

           Lot 2, Block 1, Sellars Beach, Saint Louis County, MN

           a. The apparent lien in favor of Ess Brothers and Sons, Inc. in St. Louis County

                 Minnesota, District Court File Number 69DU-CV-18-1457 in the original amount of

                 $8,657.86.

           b. The apparent lien in favor of Teamsters Local 346 Savings and 401(k) Plan in St.

                 Louis County Minnesota, District Court File Number 69DU-CV-18--2917 in the

                 original amount of $51,566.39.

           c. The apparent lien in favor of Teamsters Local 346 Savings and 401(k) Plan in

                 United States District Court, District of Minnesota Civil File Number 18-CV-01189 in

                 the original amount of $51,566.39

           d. The apparent lien in favor of David Schrunk and Steven Sauer as Trustees of the

                 Minnesota Teamsters Construction Division Health and Welfare Fund, in St. Louis

                 County Minnesota, District Court File Number 69DU-CV-19-126 in the original

                 amount of $12,309.46.

           e. The apparent lien in favor of David Schrunk and Steven Sauer as Trustees of the
NOTICE OF ELECTRONIC ENTRY AND
FILING ORDER OR JUDGMENT
Filed and Docket Entry made on 09/03/2020
Lori Vosejpka, Clerk, by LH
Case 19-50848     Doc 29    Filed 09/03/20 Entered 09/03/20 10:23:27          Desc Main
                              Document     Page 2 of 3



        Minnesota Teamsters Construction Division Health and Welfare Fund, in United

        States District Court, District of Minnesota Civil File Number 17-CV-05296 in the

        original amount of $12,309.46.

   f. The apparent lien in favor of John Nesse and Tim Mackey, as Trustees of the

        Minnesota Laborers Health and Welfare Fund in St. Louis County Minnesota,

        District Court File Number 69DU-CV-19-127 in the original amount of $15,838.85.

   g. The apparent lien in favor of John Nesse and Tim Mackey, as Trustees of the

        Minnesota Laborers Health and Welfare Fund in United States District Court,

        District of Minnesota Civil File Number 17-CV-03385 in the original amount of

        $15,838.85.

   h. The apparent lien in favor of North East Technical Services in St. Louis County

        Minnesota, District Court File Number 69HI-CV-18-751 in the original amount of

        $8,305.55.

   i.   The apparent lien in favor of Laurentian Aggregate, LLC in St. Louis County

        Minnesota, District Court File Number 69HI-CV-18-807 in the original amount of

        $62,639.50.

   j.   The apparent lien in favor of Capital One Bank (USA) N.A. in St. Louis County

        Minnesota, District Court File Number 69HI-CV-19-955 in the original amount of

        $14,872.28.

   k. The apparent lien in favor of Retail Capital Partners, LLC d/b/a Credibly in St. Louis

        County Minnesota, District Court File Number 69DU-CV-19-1220 in the original

        amount of $34,022.56.

  l.    The apparent lien in favor of Glen Johnson and Timothy Gillen Trustees of the

  Operating Engineers Local #49 Health and Welfare Fund, et al in United States
Case 19-50848    Doc 29    Filed 09/03/20 Entered 09/03/20 10:23:27         Desc Main
                             Document     Page 3 of 3



     District Court, District of Minnesota Civil File Number 18-CV-421 (LIB) in the original amount
     of $28,097.90.




Dated: September 3, 2020
                                                     /e/ Robert J. Kressel
                                                     _____________________________
                                                     United States Bankruptcy Judge
